                             Case 1:19-cv-00036-TNM Document 1-3 Filed 01/07/19 Page 1 of 2

         AO 440 (Rev. 06/12) Summons in a Civil
         Action
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                                              UNITED STATES DISTRICT COURT
                                                                             for the
                                                                   District
                                                             __________     of Columbia
                                                                        District of __________

                                                                               )
                 D’AQUILA ADVISORS LLC
                                                                               )
                                    Plaintiff(s)                               )
                                                                               )
                                         v.
                                                                               )
KIRSTJEN M. NIELSEN, Secretary                                                 )
of Homeland Security                                                                   Civil Action No.
                                                                               )
                                                                               )
L.FRANCIS CISSNA, Director of the                                              )
United States Citizenship and                                                  )
Immigration Services                                                           )
                                                                               )
KATHY BARAN, Director of the United
States Citizenship and Immigration
Services’ California Service Center
                                   Defendant(s)

                                                             SUMMONS IN A CIVIL ACTION
         To: (Defendant’s name and address)

                                                   Civil Process Clerk
                                                   U.S. Attorney for the District of Columbia
                                                   555 4th St NW,
                                                   Washington, DC 20530



                  A lawsuit has been filed against you.

                  Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
         are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
         P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
         the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
         whose name and address are:

         Michael E. Piston, Attorney at Law,
         225 Broadway, Suite 307,
         New York, NY 10007



              If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
         You also must file your answer or motion with the court.



                                                                                                          CLERK OF COURT


         Date:       1/7/2019
                                                                                                    Signature of Clerk or Deputy Clerk
                       Case 1:19-cv-00036-TNM Document 1-3 Filed 01/07/19 Page 2 of 2

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ❒ I personally served the summons on the individual at (place)
                                                                        on (date)                                    ; or

           ❒ I left the summons at the individual’s residence or usual place of abode with (name)
                                                         , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ❒ I served the summons on (name of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                           ; or

           ❒ I returned the summons unexecuted because                                                                             ; or

           ❒ Other (specify):
                                                                                                                                              .


           My fees are $                          for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                     Reset
